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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  SALLY FITZGERALD, an individual; on                CIVIL ACTION
  behalf of herself and all others similarly         NO. 20-2586
  situated,

  v.
  GRAND CIRCLE, LLC d/b/a OVERSEAS
  ADVENTURE TRAVEL

                                              ORDER

       AND NOW, this 20th day of October, 2020, upon consideration of Defendant Grand Circle

LLC’s Motion to Dismiss Amended Complaint and/or Compel Arbitration (ECF 13), and the

Response and Reply thereto (ECF 14 and 15, respectively), and for the reasons given in the

accompanying Memorandum, it is hereby ORDERED that Defendant’s Motion is GRANTED in

part and DENIED in part, as follows:

            •   The Court severs the Overseas Adventure Travel Passenger Agreement’s
                requirements that consumer claims must proceed in arbitration exclusively located
                in Boston, Massachusetts and with equal division of costs;

            •   The Court denies Grand Circle LLC’s motion to dismiss the Amended Complaint;

            •   The Court compels arbitration through JAMS, subject to the non-severed terms of
                the Overseas Adventure Travel Passenger Agreement; and

            •   The Court stays the present litigation pending arbitration.

       It is FURTHER ORDERED as follows:

       1.       All proceedings are stayed until further Order of the Court;

       2.       The case shall be transferred to the Civil Suspense File;

       3.       The Clerk of the Court shall mark this case closed for statistical purposes;

       4.       The Court shall retain jurisdiction over the case and the case shall be returned to

                the Court’s active docket in 365 days or upon further order of the Court;
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          5.         Counsel shall provide a written status report to the Court every six (6) months;

                     and

          6.         The entry of this Order shall not prejudice the rights of the parties to this

                     litigation.

                                                               BY THIS COURT:


                                                               s/ Michael M. Baylson
                                                               ______________________________
                                                               MICHAEL M. BAYLSON
                                                               United States District Court Judge


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